Case 2:23-cr-00169-MEMF Document 31-1 Filed 08/05/23 Page 1 of 8 Page ID #:161




 In the Matter of USA v. Michael Barzman, CR 23-169- MEMF

 Your Honorable Judge Ewusi-Mensah Frimpong,

 I have known Michael Barzman for over 25 years, almost my entire adult life. He has been a
 trusted friend and advisor throughout this time, from my youthful days as a struggling waiter up
 until now as I lead a celebrated restaurant group, Crew.

 In spite of the significant physical and emotional challenges he has repeatedly endured due to his
 unfortunate medical condition, he has been a steadfast friend and supporter. He's also a
 genuinely, interesting, caring, and all around enjoyable human being.

 When my late wife was battling Cancer, Michael went out of his way to assist in connecting us
 with care providers that might be able to assist. He provided unwavering emotional support and
 logistical assistance, all while dealing with his own significant challenges. I will forever be
 grateful for the support he extended to me and my family during that difficult time.

 I was aware of Michael's financial struggles from 2010 to 2012, and I understood his constant
 worries about losing his health insurance and the potential spread of his cancer. I offered him
 words of support back then, but looking back, I wish I had done more. I now realize the extent of
 his challenges. Having experienced the loss of my wife to cancer, I can empathize with Michael's
 desperation and the poor choices he made. I was fortunate to be in a better financial position at
 that time, but I understand the overwhelming feeling of desperation that he faced.

 Michael has confided in me about the deep remorse and embarrassment he feels for his actions. I
 am confident that he fully comprehends the magnitude of what he has done and that he will
 never again break the law. I testify that I will be there as an even greater support system in the
 future, ensuring that he remains steadfast in abiding by the law and providing assistance with any
 medical, emotional, or financial struggles he may encounter.

 I implore you, Your Honor, to please consider leniency in Michael's sentencing. He has
 demonstrated genuine remorse and a clear understanding of the consequences of his actions. I
 firmly believe that with the appropriate support, he can reintegrate into society as a law-abiding
 citizen.

 Thank you for your time and consideration on this matter.

 My best,
 Alex Pincus
 CEO, Crew
Case 2:23-cr-00169-MEMF Document 31-1 Filed 08/05/23 Page 2 of 8 Page ID #:162




 In the Matter of USA v. Michael Barzman, CR 23-169- MEMF

 Your Honorable Judge Ewusi-Mensah Frimpong,

 I first met Mike in Sherman Oaks little league when we were just 11 years old. Mike was
 an incredible athlete and one of the best players on our team. One day he invited me
 back to his house after a game. He lived very close to the Sherman Oaks little league
 field and we quickly became best friends. We shared interest in sports, skateboarding,
 riding bikes, fish tanks and art. For years we hung out nearly everyday. But that changed
 when we turned 13. Mike was suddenly diagnosed with cancer. I remember when he
 first told me the devastating news. I was terrified that I was going to lose my best friend.
 Shortly after that he went through an extremely complicated and painful surgery,
 removing his knee and most of his femur. The good news was they were able to get rid
 of the cancer. The bad news was he would never be the same again. His childhood was
 basically taken from him. He wouldn’t be able to play sports ever again. No more
 skateboarding or bike riding or even running. And while me and the rest of our friends
 would still continue to do these normal childhood activities,. Mike was stuck in his
 room, hooked up to a machine that would slowly move his leg up and down; part of his
 physical therapy.

 It would take months for him to heal, but eventually he was able to play outside again
 and we would start to play like kids again, as long as it wasn’t too physical or strenuous.
 But just when things started to feel a little normal again, Mike’s doctors informed him
 that he would have to have another surgery. At that age we were growing pretty fast. So
 every year or two Mike had to have another painful surgery to make sure his leg grew
 along with him. And every year or two Mike would be stuck inside his room for months,
 hooked up to the machine, trying to heal.

 Your Honor, I’m writing this letter because Mike is still one of my closest friends. We are
 both 45 years old now, which means we’ve been friends for nearly 35 years. He’s always
 supported me and been there for me, even in my darkest times. 15 years ago, I was
 struggling with addiction and It was Mike who I credit with getting me sober. He was the
 first person I called because I knew he was sober. I remember telling him I would only go
 to rehab if it was one of those fancy Malibu places. He laughed and said that if I truly
 wanted to stay sober, I needed to go to IMPACT. I did a little research and I was not
 thrilled with that idea, but I trusted him so I agreed. He made a phone call and a day
 later I checked myself in. It certainly was not a fancy Malibu rehab, but it was exactly
 what I needed. When I eventually left impact, I had no place to go. My family wasn’t
 talking to me at the time and I burnt nearly every bridge, but Mike let me stay on his
 couch and he helped me find a place to live. He was and has always been a crucial part
 of my sobriety. I’m now married with two beautiful kids, I have an amazing career for
Case 2:23-cr-00169-MEMF Document 31-1 Filed 08/05/23 Page 3 of 8 Page ID #:163




 which I was just nominated for an Emmy, and I own a home walking distance to that
 same little league field where I first met Mike. None of it would have happened if Mike
 wasn’t there for me during my darkest hour.

 I first heard about what Mike did by reading it in The NY Times. He had never mentioned
 it to me. A decade had passed and my best friend never even told what he had done. I
 now know it was because he was ashamed. He was never proud or bragged about what
 he had done. My wife is a journalist and the first thing she asked when hearing about
 this story was “do you think he’d let me interview him” and just like all the other
 journalists that have reached out to him, his answer was no. I know he wants to put this
 in his past and do everything he can to amend his wrongs.

 My career in the industry has afforded me the peace of mind that me and my family will
 always be taken care of when it comes to our health. I’m a union member and because
 of that I get free health insurance. But the recent changes to the entertainment industry
 have made me unsure on whether or not I will be able to continue to keep working and
 most importantly, keep my health insurance. I know that Mike has had this same fear
 for his entire life. For Mike, maintaining health insurance could mean life or death; and
 because he has a preexisting medical issue, it has always been a problem for him. I can’t
 tell you why Mike committed this crime because I never even knew he had done it. But I
 can say that he was going through financial problems at the time and maintaining his
 health insurance has always been his biggest concern. But I can also say that he knows
 now that there’s no excuse for his actions. He knows it was dumb. He made a mistake
 and he’s prepared to do whatever he can to make it right.

 Sincerely,

 Kevin Blum
Case 2:23-cr-00169-MEMF Document 31-1 Filed 08/05/23 Page 4 of 8 Page ID #:164




 In the Matter of USA v. Michael Barzman, CR 23-169- MEMF

 Cory Lashever


 August 1, 2023

 Your Honorable Judge Ewusi-Mensah Frimpong,

 I am a long-time friend of Michael Barzman going back almost 15 years now and am writing to
 provide some background on who I know him to be. Michael is a kind and caring man - who has
 had more than his fair share of pain and struggles due to medical issues. I know he’s dealt with
 an enormous amount of daily physical pain in his life and yet this hasn’t stood in the way of him
 showing up for me as a friend in my times of need.

 Over the course of our friendship, as I have dealt with some of my issues, Michael has made sure
 to take time from his schedule, come and see me, spend time, and make sure I knew I had him in
 my corner.

 I do know that Michael was struggling financially back in 2010 through 2012 and was constantly
 worried about losing his health insurance and also concerned that his cancer could spread - this
 stress may have caused him to act out of desperation and do things that the person I know
 Michael to be wouldn’t normally do.

 In recent months Michael has expressed to me, in confidence, remorse, and regret over the
 actions that took place in his past. I know that the man before you today is not that same person -
 he has grown beyond that. I know that he has learned from the error of his ways and now an
 older and wiser person talks to others about how a reputable path of life is the only way to live.
 I concretely know that Michael has seen the error of his ways, I hope that you’re able to keep
 that in mind as you adjudicate and be as lenient as possible at his sentencing.

 Sincerely,
 Cory Lashever
Case 2:23-cr-00169-MEMF Document 31-1 Filed 08/05/23 Page 5 of 8 Page ID #:165
Case 2:23-cr-00169-MEMF Document 31-1 Filed 08/05/23 Page 6 of 8 Page ID #:166




 August 5, 2023

 Your Honorable Judge Ewusi-Mensah Frimpong,

 I have known Michael Philip Barzman for almost 30 years. We grew up together in Los Angeles
 and hung out often. I moved away from Los Angeles 20 years ago to pursue my medical
 training, but Mike and I remained in touch over the years. We reconnected last year at a
 friend’s funeral. Mike was in the middle of this case and was feeling ashamed and depressed
 over the events that had taken place. I was in the middle of a divorce. Neither of our situations
 were perfect, but our love for each other has surpassed all. In the last year, Mike moved to San
 Diego so that we could live in the same city and he has been my loving partner for a year now. I
 am so grateful to have Mike in my life. Even throughout the stress of this case, he has been the
 best partner I could ever ask for and a great support to me and my daughter. He is loyal and
 devoted. He is my rock.

 Mike has always been there for me whenever I needed him even when we were just friends. I
 remember when I broke down on the side of the freeway one day. Mike dropped whatever he
 was doing to come rescue me when no one else would. He was the type of friend you could
 always depend on. The rare type that you hold on to.

 Mike is one of the kindest people I know. His personal medical struggles with bone cancer
 (osteosarcoma) have made him more compassionate than most. He truly cares for the
 underprivileged and is always helping those in need. Just last week, he gave his only two
 sleeping bags (that we were going to use to go camping) to two homeless men on the street. He
 told me they needed them more than we did so he generously gifted them. He often buys or
 makes food for the homeless people in our area. These are the types of things he does on a
 daily basis because he really cares about people more than your typical person caught up in the
 daily grind. Suffice to say, he is empathetic for people who are struggling.

 I am so proud of Mike and how he has worked so hard to get on the right path. He has been
 sober going to AA meetings almost daily. He volunteers at Kitchens for Good and sees a
 therapist to deal with his past trauma. I know that what happened over a decade ago was an
 act of desperation and not something he is proud of. Mike makes an honest living running
 estate sales and helping families who have lost their loved ones. He is one of the hardest
 working people I know.

 I hope that I have conveyed to you that Michael Barzman is a trustworthy citizen, a loyal
 partner, and a kind human with a tremendous heart whom I am lucky enough to have in my
 life.
 Sincerely,
 Arisa Ortiz, MD
 Associate Professor
 UC San Diego Health
Case 2:23-cr-00169-MEMF Document 31-1 Filed 08/05/23 Page 7 of 8 Page ID #:167




 In the Matter of USA v. Michael Barzman, CR 23-169- MEMF

 My name is Dr. John Faessel. I am Michael Barzman’s AA Sponsor.

 I am 87 years old, have been clean and sober for 41 years, and have been in the AA trenches
 working with new men since early in my sobriety. I have probably sponsored over 100 men
 during this period. I first met Michael at the Monday 7:00 pm La Jolla Beginners meeting. After
 seeing him again at other local meetings our relationship broadened and he asked me to be his
 AA sponsor. I sent him, via email, my first step assignment and made an appointment for him to
 come to my apartment and begin work on the first-step. I also know that he was and is attending
 outside service venues in the community. Outside of the meetings, since the inception of this
 relationship we have seen each other multiple times a week going over his ‘step’ assignments.
 He has also helped me a great deal with I.T.-related aspects of computer issues that I am
 struggling with.

 We have spent a lot of time together including a candid discussion about his crime in 2012 and
 lying to FBI regarding his involvement. We spoke at length about his disastrous decision and
 how he came to rue what he did.

 I am familiar with his medical condition that was discovered when he was 12-years old. He was
 diagnosed with osteosarcoma of the femur as a pre-teen, a severe bone-cancer that prior to the
 1970s was treated by amputation. Luckily, Michael was treated at UCLA by one of the pioneers
 of the type of surgery to excise, treat, and replace almost the entire femur with a titanium
 prosthesis.

 Because he was in the fast growth portion of his life, he underwent a continuum of surgeries over
 the years. I can only imagine the impact on a young boy's mental state which makes me
 shudder. Through the course of this long, extended, complicated, and massive treatment,
 Michael told me about how the pain was treated with the strongest opioids.

 While all bets are off on who gets and stays sober and clean, in my opinion Michael sees clearly
 that he is an addict and has embraced the solution to this terrible malady in a comprehensive and
 profound way. I would say he is now “all in” with the program. He has numerous program
 friends and, importantly, has also undertaken service commitments both within and outside of
 the program to further cement his ties to his ongoing treatment.

 In my opinion, Michael knows right from wrong. As I mentioned above, he has spoken openly
 on several occasions about the stupid decision he made to engage in the crime for which he faces
 sentencing. He told me that shortly after he produced and sold the paintings he recognized the
 horrible mistake he'd made. He said the torment went on for years, haunting him to the point of
 contemplating suicide, as he knew not only that it was illegal, but that it would be discovered and
 he would have a major price to pay because of it -- a very big price.
 Such indeed has been the case.
  Respectfully,
 John Faessel
Case 2:23-cr-00169-MEMF Document 31-1 Filed 08/05/23 Page 8 of 8 Page ID #:168




 Your Honorable Judge Ewusi-Mensah Frimpong,

 I am writing you to acknowledge and accept full responsibility for creating fraudulent artwork in
 2012 and years later, lying to the FBI. My actions were wrong and caused anguish towards
 others involved from what I started. I am truly sorry for the bad choices I made and regret what I
 have done. I wish I could turn back time and not make these terrible decisions, but I know I have
 to face the consequences that come my way.

 While I know this is not an excuse for my actions, my life was in a terrible place at the time I
 created these fake paintings. My medical situation had caused me PTSD and medical debt and
 bills had fueled a fear of me becoming homeless and financially broken. I made these bad
 decisions out of a place being scared and desperation. Looking back, this was no reason to act in
 a nefarious manner and I regret these poor decisions more than words can explain.

 When I was approached by the FBI agents, I was living in a state of fear. I truly wish I never lied
 to the FBI. The only thing I can say is that I was scared and thought my life was over. Although
 my life felt like it was downwardly spiraling out of control, this was no excuse to be dishonest
 and I deeply regret my actions.

 Since being charged with lying to the FBI, I have tried to better myself and right my wrongs. I
 have rejoined Alcoholics Anonymous and gotten a sponsor that has again been walking me
 through the 12 steps and have been working on my character defects. During the rainy season
 recently in San Diego, I began doing my own outreach program with the homeless population. I
 started accepting donations of rain coats, tents, warm coats and sleeping bags and distributed
 them to homeless people. Each time I gave out one of these items, I gave every person a warm
 meal and hug them and show that they are important. I started donating time to Kitchens for
 Good, a non profit organization in San Diego. As well, I re-enrolled in therapy classes with a
 counselor to address my issues that stem from having osteosarcoma bone cancer as a young
 child. I also began to reach out to young men and women selling fake name brand items at the
 local swap meet in San Diego and on social media apps. Without telling them the specifics of my
 case, I have explained to them that there are serious consequences for poor decisions and that
 there is time for them to stop selling fraudulent items and turn their lives around. I have had a
 few examples of young people saying that no one ever took the time to explain this to them. I
 believe I can educate people and make a positive impact on their lives. I am trying in every area
 of my life to better myself and help others.

 I am learning a really hard lesson in humility because of all of the negative and judgmental
 comments that are now attached to me and my name as result of my actions. I have to be very
 careful on the internet because there have been so many stories and comments online about me
 some true others not but almost all bad, talking about me being dishonest and participating in
 fraud. But I accept that I have no one to blame for that other than me. It is a hard lesson but one
 that that the universe wants me to learn.

 Thank you for your time your honor,
 Michael Barzman
